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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

POPSOCKETS LLC,
Plaintiff,

v.

CAR-ELEC2010, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. 19-cv-01354
Judge Matthew F. Kennelly

Magistrate Judge Maria Valdez

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on April 26, 2019 [46], in favor

of Plaintiff PopSockets LLC (“PopSockets” or “Plaintiff’), and against the Defendants Identified

in Schedule A in the amount of two hundred thousand dollars ($200,000) per Defaulting

Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

 

 

 

 

 

Defendant Name Line No.
omnistore888 18
JiaShike 131

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 24th day of May 2019.

Respectfully sub ited,

Whee

any C. Ziegler

Justin R. Gaudio

Allyson M. Martin

Greer, Burns & Crain, Ltd.

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Counsel for Plaintiff PopSockets LLC

Subscribed and sworn to me by Allyson M. Martin, on this 24th day of May 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE
Official Seal
Notary Public ~ State of illinois
My Commission Expires Nov 20, 2021

 

    
     

Notary Public

State of Illinois
County of Cook
